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IN THE UNITED sTATEs n:sTRIcT coURT "RI'ED 3¥??--°£-
FoR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 05‘”“~25 PH 3’30
remit
POWER s TELEPHONE sUPPLY CEBKUS£%NWHOGFU

%BG%N’
coMPANY, INc., '

Plaintiff and

Counter-Defendant,
v. No. 03-2217 Ml/V
sUNTRUsT BANKS, INc., sUNTRUsT
BANK, SUNTRUST BANK-ATLANTA,
SUNTRUST BANK-NASHVILLE, N.A.,
SUNTRUST EQUITABLE SECURITIES

coRPoRATroN, and
sUNTRUsT cAPITAL MARKETS, INc.,

Defendants and
Counter-Plaintiffs.

vvvvvvvvvwvv\-¢\-Ivvv

 

ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANTS/COUNTERCLAIM PLAINTIFFS' APPLICATION FOR ATTORNEY'S
FEES

 

Before the Court is the Fee Application of
DefendantB/Counter-Plaintiffs SunTruSt Banks, Inc., et al.,
(collectively “SunTrust”), filed May 2?, 2005. Plaintiff/Counter-
Defendant Power and Telephone Supply Company, Inc. (“Power and
Telephone”) responded in opposition on June 13, 2005. SunTrust
filed a reply on June 29, 2005. Power and Telephone filed a sur-
reply on July 5, 2005.1 For the following reasons, SunTrust's

fee application is GRANTED in part and DENIED in part.

 

1 The Court hereby grants Power and Telephone leave to file
its sur-reply.

This document entered on the dockets set |n com llance
with Rute 58 and/or 79(a) FHCP on 2 "é@“{z$p

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I. BACKGROUND

This action arose out of a financial transaction between the
parties involving interest rate swap agreements.2 On May lO,
2005, the Court granted summary judgment in favor of SunTrust
regarding all of Power and Telephone’s claims in this case.
(Order Granting Defs.' Mot. for Summ. J., May lO, 2005 (Docket
No. 32?).) On May ll, 2005, the Court granted summary judgment
in favor of SunTrust on its counterclaim against Power and
Telephone for indemnification regarding costs and attorney’s fees
incurred in defending the instant litigation. (Order Granting in
Part and Denying in Part Pl.’s Mot. to Dismiss Defs.'
Counterclaim for Indemnification and Order Granting Defs.’ Mot.
for Summ. J. Reg. Defs.’ Counterclaim for Indemnification, May
ll,r 2005 (Docket No. 325).) SunTrust subsequently filed the
instant fee application in accordance with the Court’s May ll,
2005, order.
II. LEGAL STANDARD

The primary concern in an attorney's fee case is that the

fee awarded be reasonable. Reed v. Rhodes, 179 F.3d 453, 471

(6th Cir. l999)(citing Blum v. Stenson, 465 U.S. 886, 893

 

2 Detailed discussions of the facts underlying this case are
contained in the Court’s December 27, 2004, Order (Order Granting
in Part and Denying in Part Defs.’ Mot. to Dismiss of Dec. 27,
2004 (Docket No. 236)) and the Court’s May 10, 2005, Summary
Judgment Order. (Order Granting Defs.' Mot. for Summ. J., May 10,
2005 (Docket No. 327).)

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(1984))3. “The party seeking attorneys fees bears the burden of
documenting [its] entitlement to the award.” Beed, 179 F.3d at
472 (citing Webb v. DVer Countv Bd. of Educ., 471 U.S. 234, 242
(1985)). A fee applicant is required to submit evidence
supporting the hours worked and the rates claimed. ld¢ (citing
Henslev v. Eckerhart, 461 U.S. 424, 433 (1983)). “Where the
documentation of hours is inadequate, the district court may
reduce the award accordingly.” ld; (quoting Hensley, 461 U.S. at
433). A fee applicant must make a good faith effort to exclude
from a fee request hours that are excessive, redundant, or
otherwise unnecessary. Hensley, 461 U.S. at 434. Further,
“{h]ours that are not properly billed to one's client are not
properly billed to one’s adversary ....” lg¢
III. ANALYSIS

SunTrust’s entitlement to an award of costs and attorney’s
fees arises from indemnification provisions contained within
several of the parties' contractual agreements. In its fee
application, SunTrust seeks a total of $1,054,651.16 in costs and
attorney’s fees in connection with the instant litigation.4

Power and Telephone contends that SunTrust should only be granted

 

3 Although Reed involved a fee award pursuant to 42 U.S.C. §
1988, the Court nonetheless finds its holding applicable to the
instant case.

4 In its reply to Power and Telephone's opposition, SunTrust
requested an additional $11,355.50 in costs and attorney's fees,

bringing its total fee request to $1,066,006.66.

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fees in the amount of $593,805.55 because: (l) SunTrust has
included in its request attorney’s fees related to discovery
motions on which SunTrust was not successful; (2) SunTrust's
attorneys engaged in overstaffing and duplication of services;
(3) SunTrust’s attorneys improperly engaged in block billing; (4)
SunTrust improperly seeks attorney’s fees related to the time of
SunTrust’s in-house counsel; (5) SunTrust seeks attorney’s fees
billed at above the relevant local market rates; and (6) SunTrust
seeks attorney’s fees for which SunTrust was not billed. The
Court will address Power and Telephone's objections in turn.

A. Time Expended Defending Discovery Motions

Power and Telephone contends that SunTrust’s fee award
should not include attorney's fees generated in unsuccessfully
defending against certain of Power and Telephone's discovery
motions. Power and Telephone points to nothing in the plain
language of the parties’ indemnification agreements, however,
that limits SunTrust’s entitlement to attorney's fees to those
motions on which SunTrust was successful. Moreover, Plaintiff
points to no authority within the Sixth Circuit for the premise
that fees for unsuccessfully defended motions should be withheld
from SunTrust’s award. Accordingly, the Court finds that it
should not deduct from SunTrust's fee award fees relating to

motions that SunTrust unsuccessfully defended.

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B. Overstaffing, Inadequate Presentation of Billing Records,
and Redundancy

Power and Telephone next contends that SunTrust's fee
request should be reduced because it overstaffed the case,
presented inadequate billing records, and included redundant
expenses. The Court finds that no such reduction is appropriate.

With respect to the level of staffing provided, the Court
finds that SunTrust did not overstaff the case. As noted in
SunTrust's reply, SunTrust's billing records indicate that fees
for the work of three attorneys and one paralegal from the law
firm of Sutherland, Asbill and Brennan, LLP (“Sutherland”),
SunTrust's primary counsel, account for 91% of the total fees
charged to SunTrust from that firm. (See Reply Brief of
Defs./Counterclaim Pls. in Supp. of Fee App. at 9.) Moreover,
based upon the total number of hours billed on behalf of
SunTrust, the hours of the Sutherland attorneys and paralegal
accounted for approximately 78% of the total hours billed to
SunTrust.5

The Court further finds that the billing records submitted
along with SunTrust's fee application adequately document the
fees for which it was billed, and do not indicate that SunTrust’s

attorneys engaged in redundant billing. Rather, the Court finds

 

5 SunTrust included a total number of 2892.66 hours billed
in its fee application. (See infra, Section IV(A).} Those four
Sutherland employees accounted for 2,24l.54 of those hours -
approximately 78% of the total hours billed. (See id.)

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that the relative complexity of the legal issues in this case, as
well as the significant number of documents and agreements
involved, required significant expenditures of time and resources
by the parties and the Court. Accordingly, having reviewed the
record and the parties' submissions, the Court finds that
SunTrust's fee award should not be reduced due to purported
overstaffing, inadequate billing records, or redundancy.

C. Block Billing and Redactions

Power and Telephone also contends that SunTrust's fee
request should be reduced by lO% because SunTrust redacted
certain billing entries and engaged in block billing - in which
several different tasks are grouped and billed in one large block
of time. Having reviewed the record and the parties submissions,
however, the Court finds that neither SunTrust's redactions of
certain billing entries nor its use of block billing has
prevented the Court from adequately reviewing the reasonableness
of its fee application. Accordingly, the Court finds that no
reduction due to redaction or block billing is appropriate.

D. Fees Associated with SunTrust’s In-House Counsel

Power and Telephone next contends that SunTrust's fee award
should not include fees for the services of its in-house counsel.
Scant authority exists in case law regarding the question of
whether an award of attorney’s fees is proper regarding the work

of a salaried in-house counsel. However, the Court finds the

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reasoning of the Eleventh Circuit in Burqer Kinq Corn. v. Mason,
710 F.2d 1480, 1498-99 (llth Cir. 1983), persuasive as to this
question and adopts its holding herein. In Bur er Kin , the
Eleventh Circuit found that, in the absence of state law
precedent allowing an award of attorney's fees for the services
of in-house counsel, such fees are not recoverable except where
the in-house counsel actively tried the case, as opposed to
acting primarily as a liason between the client and opposing
counsel. 710 F.2d at 1498-99. The affidavit of SunTrust’s in-
house counsel, Kevin T. Roche, does not demonstrate that
SunTrust's in-house counsel actively litigated the case. To the
contrary, SunTrust’s fee petition demonstrates that outside
counsel litigated the case, and in-house counsel acted only as a
liason between SunTrust and its outside counsel. Moreover,
SunTrust does not maintain billing records for services rendered
by its in-house counsel and therefore failed to provide any
documentation regarding the hours purportedly spent on the
instant case by its in-house counsel. (See Counterclaim Pls.’ Fee
App., Ex. 2 (Aff. of Kevin T. Roche) l 3.). Finally, the plain
language of the parties' indemnification agreements does not
support SunTrust’s contention that it is entitled to legal fees

for time spent by its salaried in-house counsel.6 Accordingly,

 

6 In its May ll, 2005, order, the Court found that SunTrust
was entitled to indemnification under four separate provisions of
(continued...)

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the Court finds that SunTrust's fee award should not include the
requested $75,000 for in-house counsel fees.

E. Hourly Rates in Excess of the Local Market

Power and Telephone next contends that SunTrust’s fee award
should be adjusted to reflect the fact that the hourly rates
charged by SunTrust's out-of-town counsel exceed the reasonable
rates of attorneys of similar experience in the local area of
Memphis, Tennessee. This Court “has broad discretion to
determine what constitutes a reasonable hourly rate for an
attorney.” Wavne v. Villaqe of Sebring, 36 F.3d 517, 532 (6th
Cir. 1994), cert. denied, 514 U.S. 1127 (1995). Generally, it is
appropriate to apply local market rates to a party’s fee

application. See Hudson v. Reno, 130 F.3d 1193, 1208 (6th Cir.

 

(...continued)

the parties’ various agreements: (1) Section 10.4(iii) of the
November 16, 1998, Restated Credit Agreement (Defs.' Ans. and
Counterclaim, Ex. B at 76); (2) an identical Section 10.4(iii) of
the 2000 Second Amended and Restated Credit Agreement (Id.); (3)
Section 14(1} of the November 16, 1998, Restated Security
Agreement (Defs.' Ans. and Counterclaim, Ex. B at 16-17); and (4)
Paragraph F(l) of the August 31, 2000, Commitment Letter (Pl.’s
Third Am. Compl., Ex. I at PT/3000209). (Order Granting in Part
and Denying in Part Pl.'s Mot. to Dismiss Defs.’ Counterclaim for
Indemnification and Order Granting Defs.' Mot. for Summ. J.
Regarding Defs.’ Counterclaim (Docket No. 325) at 22-23.) The
various provisions provide that indemnification is appropriate
for “reasonable fees actually incurred and disbursements of

counsel incurred...,” (Section 10.4(iii)}, “reasonable fees and
out-of-pocket expenses of Agent’s and Lenders' attorneys...”
(Section 14(1)}, and “fees and disbursements of counsel...”
(Paragraph F(l} of the August 31, 2000 Commitment Letter). Thus,

the language in the agreements does not provide for reimbursement
for the work of a salaried in-house counsel.

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1997)(finding no abuse of discretion by district court applying

local market rates to fee petition), cert. denied, 535 U.S. 822

(1998), abrogated on other grounds bv Pollard v. E.I. du Pont de
Nemours & Co., 532 U.S. 843, 847 (2001).

SunTrust employed attorneys from the law firm of Sutherland,
Asbill and Brennan, LLP, located in Atlanta, Georgia, to perform
most of the litigation work in this case. However, SunTrust
neither adjusted the rate charged by the Sutherland attorneys to
comport with the local Memphis, Tennessee, legal market nor
submitted any evidence to show that the rates charged were
appropriate in the local market. Moreover, in its reply,
SunTrust did not contest Power and Telephone's contentions
regarding the appropriate local market rate to be charged for the
legal services it received. Accordingly, in calculating
SunTrust’s fee award, the Court will look to the average hourly
rates of SunTrust’s local counsel from Bass, Berry and Sims, PLC
(“Bass Berry”), to determine the appropriate local market rate
for SunTrust’s legal services.

SunTrust employed three partners and two counsel from
Sutherland during this litigation. The average hourly rate of S.
Lawrence Polk, Esq., SunTrust's lead attorney from Sutherland,
was $396.47. (Counterclaim Pls.’ Fee App., Ex. 1 (Decl. of S.
Lawrence Polk) 1 5.) Mr. Polk is a very well-qualified attorney

who has practiced law for over twenty years and possesses

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extensive experience in securities litigation. Sutherland
partners Warren Davis and Jamie Cain also performed work on the
instant case, at average hourly rates of $419.92 and $479.44,
respectively {Id., 15), as did counsel Alan Wolper and Jeff
Taylor, at respective average hourly rates of $374.93 and
$330.03. (Id.r 1 6.} By contrast, the hourly rate of SunTrust's
lead local counsel, Mr. John Speer, Esq., a partner at Bass
Berry, in Memphis, Tennessee, was $340.30. (Id., Ex. 3 (Decl. of
John Speer) 1 3.) Mr. Speer is also a very well-qualified
attorney who possesses over thirty years of experience in
commercial litigation and the counseling of financial
institutions.

Several associates were employed by Sutherland during this
litigation. In particular, associates Bryan Wardr Elena Parent
and Sam Almon respectively billed 558.03, 441.90, and 131.30
hours at average hourly rates of $210.09, $196.52, and $190.45.
(Counterclaim Pls.' Fee App., Ex. 1 1 7.)1 By contrast, the
average rate billed by by Bass Berry for associate hours was
$162.29. (See Pl.’s Resp. and Obj. to Defs.'/Counterclaim Pls.’
Fee App. at 15.)

In consideration of the record, these attorneys' experience

and the relevant local market, the Court finds that it is

 

7 Additionally, several other Sutherland associates billed a
total of 37.52 hours at various hourly rates. (Counterclaim Pls.’
Fee App., Ex. A pp. 1-2.)

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appropriate to calculate SunTrust's fee award based upon the
average hourly rates charged by attorneys at Bass Berry.
Accordingly, SunTrust's fee award with respect to hours billed by
partners S. Lawrence Polk, Warren Davis, and Jamie Cain, and
counsel Alan Wolper, will be calculated based upon an average
billing rate of $340.30.8 SunTrust’s fee award with respect to
hours billed by Sutherland associates will be calculated based
upon an average billing rate of $162.29.

F. Attorney Time Expended but not Billed to SunTrust

Power and Telephone next contends that the Court should
exclude from its fee award time expended by SunTrust's attorneys
but not actually billed to SunTrust. In particular,r Power and
Telephone points to several billing entries which include the
notation “no charge.” (See Pl.’s Resp. and Obj.'s to
Defs.'/Counterclaim Pls.' Fee App., Ex. A.) Although SunTrust
admits that it was not actually charged regarding billing entries
marked “no charge” (See Reply Brief of Defs./Counterclaim Pls. in
Supp. of Fee App. at 4), SunTrust nonetheless contends that it is
entitled to collect those fees because they were “incurred”
pursuant to the parties’ agreements. However, “[h]ours that are
not properly billed to one’s client are not properly billed to

one’s adversar ....” Hensle , 461 U.S. at 434. Moreover, the
y ______¥

 

a The average hourly billing rate of counsel Jeff Taylor was
$330.03. Accordingly, no reduction in his average hourly billing
rate is necessary.

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Court finds that the plain language of the parties’
indemnification agreements does not support SunTrust’s contention
that such fees were “incurred” even though SunTrust was not
charged. Accordingly, SunTrust is not entitled to collect fees
for services for which it was not charged. SunTrust's fee award
will therefore be reduced by the amount of attorney’s fees
requested for which SunTrust was not charged.

Power and Telephone specifically requests that SunTrust's
fee award be`reduced by $94,154.50 for services performed by its
attorneys but not billed to SunTrust. That figure was arrived at
by adding together the amount of all billing entries submitted
along with SunTrust’s fee application that were marked with the
notation “no charge.” (See Pl.'s Sur-Reply to Defs.’ Reply to
Resp. and Obj. to Defs.’/Counterclaim Pls.' Fee App., Ex. 1 (Aff.
of Cannon F. Allen) 1 7.) Because Power and Telephone’s proposed
reduction of $94,154.50 was calculated based upon the billing
rates charged by Sutherland attorneys, awarding the full
$94,154.50 reduction would result in too great a reduction in
SunTrust's fee award. Accordingly, the reduction will be
adjusted to reflect the appropriate hourly rate in the local
Memphis, Tennessee market. The majority of work performed on
behalf of SunTrust in this case was billed by SunTrust partners
and counsel, for which the Court has found that the appropriate

hourly rate is $340.40. That figure represents a reduction of

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approximately 15% from the rates charged by the Sutherland
partners and counsel. The Court will therefore decrease the
amount of the non-charged fee reduction by 15% to $80,031.32.
That amount will be deducted from SunTrust’s total fee award.

G. Other Uncontested Fees

SunTrust also incurred the following fees which were not
specifically contested by Power and Telephone. One partner and
seven associates at Bass Berry billed 104.60 hours at an average
hourly rate of $162.70 for total fees of $17,018.42.
(Counterclaim Pls.’ Fee App., Ex. 3 (Decl. of John Speer) 1 3.)
Paralegal Rhonda Lapusnak of Bass Berry billed 67.6 hours at an
average hourly rate of $137.60 for a total fee Of $9,301.76. (Id.
1 4.) Other paralegals and legal assistants at Bass Berry billed
40.8 hours at an average hourly rate of $108.08 for total fees of
$4,410.04. (Id.) Paralegal Caroline Smith of Sutherland billed
238.84 hours at an average hourly rate of $142.06 for a total fee
of $33,929.61. (Counterclaim Pls.’ Fee App., Ex. 1 1 8.) Those
fees are awarded to SunTrust in full.

H. Uncontested Expenses

SunTrust also includes in its fee application a request for
expenses paid by or on behalf of SunTrust in connection with this
litigation. Power and Telephone does not object to SunTrust's
request for expenses. Accordingly, the Court awards $79,637.71

in expenses paid directly by SunTrust (Defs.’ Fee App., Ex. 2 1

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4}, $97,749.22 in expenses advanced by Sutherland (Id., Ex. l 1
9), and $7,955.16 in expenses advanced by Bass Berry. (Id., Ex. 3
1 5.)

Additionally, in its reply brief, SunTrust noted that it has
incurred $8,042.00 in attorney’s fees and $1,281.92 in expenses
charged by Sutherland (See Supp’l Decl. of S. Lawrence Polk,
attached as unnumbered exhibit to Reply Brief of
Defs./Counterclaim Pls. in Supp. of Fee App., 1 2), and $l,786.00
in attorney’s fees and $245.58 in expenses charged by Bass Berry
since the filing of its original fee application. (See Supp'l
Decl. of John Speer, attached as unnumbered exhibit to Reply
Brief of Defs./Counterclaim Pls. in Supp. of Fee App.) The Court
finds, for the reasons stated above, that a 15% reduction in the
attorney’s fees charged by Sutherland is appropriate and
therefore the Court will award $6,835.70 in attorney’s fees
charged by Sutherland. Accordingly, having considered Power and
Telephone's objections with respect to SunTrust’s supplemental
request, the Court finds that SunTrust is entitled to a

supplemental award of $8,621.70 in attorney’s fees and $1,527.50

in expenses.

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IV. CALCULATION OF FEE ANLRD

In accordance with the above findings, the Court makes the

following fee award:

A. Attorney’s Fees:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bass Berry

 

 

 

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Firm Attorney Hours Hourly Total
Rate
Sutherland Polk 1002.77 $340.30 $341,242.63
Sutherland Wolper 28.81 $340.30 $9,804.04
Sutherland Taylor 14.19 $330.03 $4,683.13
Sutherland Davis 6.00 $340.30 $2,041.80
Sutherland Cain l.OO $340.30 $340.30
Sutherland Ward 558.03 $162.29 $90,562.69
Sutherland Parent 441.90 $162.29 $71,715.95
Sutherland Almon 131.30 $162.29 $21,308.68
Sutherland Other Associates 37.52 $162.29 $6,089.12
Bass Berry Speer 219.30 $340.30 $74,627.79
Bass Berry Other 104.60 $162.70 $17,018.42
Partners/Associates
Bass Berry Lapusnak 67.60 $137.60 $9,301.76
(Paralegal)
Bass Berry Other 40.80 $108.08 $4,410.04
Paralegals/Legal
Assistants
Sutherland Smith 238.84 $142.06 $33,929.61
(Paralegal)
Sutherland/ Supplemental Award $8,621.70

  

$695,697.

 

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B. Uncontested Costs and Litigation Expenses:

 

 

 

 

 

 

Paid Directly by SunTrust $79,637.71
Advanced by Sutherland $97,749.22
Advanced by Bass Berry $7,955.16
Supplemental Award $1,527.50
Total $186,869.59

 

 

 

C. Non-Charged Hours Reduction

 

 

 

 

 

 

Total Amount of Non-Charged Hours <$94,154.50>
15% Adjustment for Local Market Rates $14,123.18
Total <$80,031.32>

 

D. Total Fee Award

 

 

 

 

Attorney’s Fees $695,697.66
Costs and Litigation Expenses $186,869.59
Non-Charged Hours Reduction <$80,031.32>
Total $802,535.93

 

 

 

 

V. CONCLUSION
For the reasons stated, SunTrust’s fee application is
GRANTED in part and DENIED in part. The Court hereby awards

SunTrust fees and expenses in the amount of $802,535.93.

So ORDERED this 36 day of July, 2005.

_ Qm¢@d.

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

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UNITE STTES DSRTIC COURT - WESRNTE DI"CRIT OF T'ENN'ESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 372 in
case 2:03-CV-02217 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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